     5,&+$5'-68//,9$1
     &DOLIRUQLD6WDWH%DU1R                                     Motion DENIED as MOOT
     /$:2)),&(62)5,&+$5'-68//,9$1                                  in light of Amended
     &KHQDXOW6WUHHW6XLWH                                    Motion.
     /RV$QJHOHV&$
     7HO  
     (0DLO&KLHIWULDOFRXQVHO#*PDLOFRP

     $WWRUQH\VIRU(OLFHR)XHUWH%DUULJD




                                81,7('67$7(6',675,&7&2857

                                0,''/(',675,&72)7(11(66((

                                       1$6+9,//(',9,6,21

81,7('67$7(62)$0(5,&$                              &DVH1RFU

                        3ODLQWLII                     7KH+RQRUDEOH$OHWD$7UDXJHU
                                                       86'LVWULFW-XGJH
Y
                                                       027,21   72 ',60,66 683(56(',1*
-$9,(5321&(&85$6&2HWDO                          ,1',&70(17 )25 '(/$< 2)
                                                       3526(&87,21 $1' '(6758&7,21 $1'
                        'HIHQGDQW                     7$03(5,1* 2) (9,'(1&( 5(48(67
                                                       )25 +($5,1* '(&/$5$7,21 2)
                                                       $77251(< 5,&+$5' - 68//,9$1 ,1
                                                       68332577+(5(2)

                                                       'DWH7%'
                                                       7LPH7%'
                                                       'HSW7%'
BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


                                                  ,

                                           ,1752'8&7,21

         +HDYHQNQRZVKRZWRSXWDSURSHUSULFHXSRQLWVJRRGVDQGLWZRXOGEHVWUDQJHLQGHHGLIVR



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